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          IN THE UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF ARKANSAS
                  NORTHERN DIVISION

KELLY MARTIN                                                PLAINTIFF

v.                       No. 3:20-cv-69-DPM

SHAWN STEPHENS, Independence
County Sheriff, Individually and in his
Official Capacity; JACOB
MCLAUGHLIN, Individually and in his
Official Capacity; JORDAN TURNER,
Individually and in his Official Capacity;
INDEPENDENCE COUNTY,
ARKANSAS; and JOHN DOE                                  DEFENDANTS


                             JUDGMENT
     Martin’s complaint is dismissed with prejudice.


                                 _________________________
                                 D.P. Marshall Jr.
                                 United States District Judge

                                 12 September 2023
